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 1                      UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
 2                          ALEXANDRIA DIVISION

 3   ------------------------------x
                                    :
 4   UNITED STATES OF AMERICA,      : Criminal Action No.
                                    :
 5                versus            : 1:18-MJ-196
                                    :
 6   GEORGE AREF NADER,             :
                                    :
 7                       Defendant. : June 6, 2019
     ------------------------------x
 8
                  The above-entitled Initial appearance hearing was
 9   heard by the Honorable Ivan D. Davis, United States Magistrate
     Judge.
10
                           A P P E A R A N C E S
11
     FOR THE GOVERNMENT:             JAY PRABHU, AUSA
12                                   LAURA FONG, AUSA
                                     US Attorney's Office
13                                   2100 Jamieson Avenue
                                     Alexandria, VA 22314
14
     FOR THE DEFENDANT:              JONATHAN CHUN-WEI SU, ESQ.
15                                   Latham & Watkins LLP
                                     555 11th St NW
16                                   Suite 1000
                                     Washington, DC 20004-1304
17
                                     CHRISTOPHER CLARK, ESQ. (Pro hac)
18                                   Latham & Watkins LLP
                                     885 Third Avenue
19                                   New York, NY 10022-4834

20   OFFICIAL COURT REPORTER:        MS. TONIA M. HARRIS, RPR
                                     United States District Court
21                                   Eastern District of Virginia
                                     401 Courthouse Square, Ninth Floor
22                                   Alexandria, VA 22314

23   (Proceedings recorded by electronic sound recording.
     Transcript produced by computerized transcription.)
24

25


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                                 U.S. v. Nader
                                                                             2
 1                            P R O C E E D I N G S

 2   (Court proceedings commenced at 2:31 p.m.)

 3               THE CSO:   All rise.    This honorable court is again

 4   in session.   Please be seated and come to order.

 5               THE DEPUTY CLERK:     United States versus George

 6   Nader.    Case No. 18-MJ-196.

 7               MR. PRABHU:    Good afternoon, Your Honor.       Jay Prabhu

 8   and Laura Fong for the Government.

 9               THE COURT:    Good afternoon.

10               MR. CLARK:    Your Honor, Chris Clark, Latham &

11   Watkins, for the defendant.       I have an admission pro hac vice

12   pending in this district.      I have a partner here who is a

13   member of the bar of this district.        If you would like him to

14   move me in orally, or otherwise, I would ask that my

15   appearance here be permitted pending my pro hac vice.

16               THE COURT:    Your application is down in the clerk's

17   office?

18               MR. CLARK:    It is, Your Honor.

19               THE COURT:    So approved.

20               MR. SU:    Your Honor, we got a notification from the

21   ECF that Your Honor had approved the motion.

22               THE COURT:    All right.

23               MR. CLARK:    Thank you, Your Honor.

24               May my client be seated, Your Honor?

25               THE COURT:    Not at the moment.


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                                                                              3
 1             MR. CLARK:    Okay.

 2             THE COURT:    Are you George Nader?

 3             THE DEFENDANT:     Yes.

 4             THE COURT:    Mr. Nader, this is the United States

 5   District Court for the Eastern District of Virginia.           You are

 6   here because you've been arrested on a warrant, which was

 7   faced on a criminal complaint.       That complaint charges you

 8   with on or about January 17th of 2018 in the Eastern District

 9   of Virginia that you did transport visual depiction of minors

10   engaged in sexually explicit conduct.

11             Do you understand the charge against you?

12             THE DEFENDANT:     Yes.

13             THE COURT:    When you are arrested on such a charge,

14   the law requires that you be brought in front of a judge as

15   quickly as possible so you can be informed of the charge

16   against you, the maximum punishment for that charge, your

17   right to be represented by counsel, your rights under certain

18   circumstances to a preliminary and detention or bond hearing,

19   and your right to remain silent.

20             Government, can you please inform Mr. Nader of the

21   maximum punishment for the charged offense?

22             MR. PRABHU:     Yes, Your Honor.

23             There's a maximum sentence of 40 years of

24   imprisonment, a 250,000 fine and $100 special assessment,

25   Another 500 -- a $5 ,000 special assessment, and a five-year


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 1   mandatory minimum term of supervised release up to a life term

 2   of supervised release.

 3              There is also a 15-year mandatory minimum of

 4   imprisonment.

 5              THE COURT:    Mr. Nader, do you understand both the

 6   mandatory minimum and maximum punishments for the charged

 7   offense?

 8              THE DEFENDANT:    Yes.

 9              THE COURT:    Based on that charge, you have an

10   absolute right to be represented by counsel.        I'm assuming

11   you've been retained.

12              MR. CLARK:    I have been, Your Honor.

13              THE COURT:    And you've noted your appearances.

14              MR. CLARK:    I have, Your Honor.

15              THE COURT:    Because you've been charged in a

16   criminal complaint, you have an absolute right to what we call

17   a preliminary hearing.     That is a hearing at which the

18   Government will be required to produce sufficient evidence to

19   this Court to show this Court that probable cause exist to

20   believe that the charge set forth in the complaint was

21   committed and committed by you.

22              Do you understand?

23              THE DEFENDANT:    Yes.

24              THE COURT:    Is the Government seeking detention?

25              MR. PRABHU:    Yes, Your Honor.     This is a presumption


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                                  U.S. v. Nader
                                                                                5
 1   case.

 2                THE COURT:    Mr. Nader, the Government is seeking

 3   that you be detained prior to further proceedings based in

 4   large part on the fact that this is what we call a presumption

 5   case, which means this is an offense which involves the --

 6   which involves a juvenile.

 7                Under those circumstances, the law requires this

 8   Court to presume that detaining you prior to further

 9   proceedings is the appropriate course of action.             Under those

10   circumstances, the law requires this Court to hold a bond

11   hearing to determine whether you will be detained or released

12   prior to further proceedings.

13                The Court received, via chambers, and I believe -- I

14   don't know whether it's been filed or not, according to ECF a

15   motion -- an emergency motion for a conditional release.

16                Did the Government receive that as well?

17                MR. PRABHU:   I just received it coming in.          I have

18   not had a chance to review it thoroughly, but the Government

19   would oppose any emergency motion.          And if the Court would

20   like to be heard on the circumstances, I'm happy to expound a

21   little bit.

22                THE COURT:    You mean on the circumstances that you

23   oppose it?

24                MR. PRABHU:   Yes.

25                THE COURT:    Well --


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                                  U.S. v. Nader
                                                                            6
 1               MR. PRABHU:   As being an emergency.

 2               THE COURT:    Well, as an emergency -- well based on

 3   the information that's contained in the motion, the Court

 4   believes that any discussion would be more appropriately held

 5   at side bar.

 6               MR. PRABHU:   Thank you, Your Honor.

 7               (A sealed side bar was held.)

 8               THE COURT:    Based on representations of both

 9   Government counsel and counsel of Mr. Nader, it's the Court's

10   decision that we will hold the detention hearing tomorrow at 2

11   p.m.

12               We will hold the preliminary hearing Monday at 3

13   p.m.   That will be in front of Judge Buchanan.

14               Now, Mr. Nader, you have an absolute right to remain

15   silent.   The reason you have that right is because anything

16   you say about the offense, or anything else, can and probably

17   will be used against you at further court proceedings.

18               Do you understand?

19               THE DEFENDANT:    Yes.

20               THE COURT:    The law, however, requires that you be

21   detained prior to the detention hearing.

22               Therefore, at this time, Mr. Nader is remanded to

23   the custody of the United States marshals until 2 p.m.

24   tomorrow.

25               MR. PRABHU:   Thank you, Your Honor.


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                                                                            7
 1             MS. FONG:    Thank you, Your Honor.

 2             MR. CLARK:    Is there anything further, Your Honor?

 3             THE COURT:    That will be it.

 4             MR. CLARK:    Thank you.

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 6                 (Proceedings adjourned at 2:44 p.m.)

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 1                      CERTIFICATE OF REPORTER

 2

 3               I, Tonia Harris, an Official Court Reporter for

 4   the Eastern District of Virginia, do hereby certify that I

 5   reported by machine shorthand, in my official capacity, the

 6   proceedings had and testimony adduced upon the Initial

 7   appearance hearing in the case of the UNITED STATES OF

 8   AMERICA versus GEORGE AREF NADER, Criminal Action No.

 9   1:18-MJ-196, in said court on the 6th day of June, 2019.

10               I further certify that the foregoing 8 pages

11   constitute the official transcript of said proceedings, as

12   taken from my machine shorthand notes, my computer realtime

13   display, together with the backup tape recording of said

14   proceedings to the best of my ability.

15               In witness whereof, I have hereto subscribed my

16   name, this June 6, 2019.

17

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21                                ______________________________
                                  Tonia M. Harris, RPR
22                                Official Court Reporter

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